Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 1 of 25 PageID #: 30




                       IN THE UNITED STATES DISTRICT COURT
                                                                                      V
                      FOR THE EASTERN DISTRICT OF NEW YORK



  Juanita L. Murray                                      AM^
                                                   Complaint for Employment
                                                   Discrimination


                                                   Case No. 15 CY                        gg/l|
(Write thefull name ofeach plaintiffwho isfiling   (to befilled in by the Clerk's Office)
this complaint. Ifthe names ofall the plaintiffs
cannotfit in the space above, please write "see    Jury Trial:    BJ^Yes □ No
attached" in the space and attach an additional                   (check one)
page with thefull list ofnames.)


    -against-

 New York City Board ofEducation

 Robert Mercedes

 Susan Carr Lagomarsini




(Write thefull name ofeach defendant who is
being sued. Ifthe names ofall the defendants
cannotfit in the space above,please write "see
attached" in the space and attach an additional
page with thefull list ofnames.)




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      The Parties to This Complaint

      A.    The PlaintiffCs)

            Provide the information below for each plaintiff named in the complaint.
            additional pages if needed.

                   Name                       Juanita L. Murray


                   Street Address            1114 Stonegate Road


                   City and County        Shrub Oak, Westchester County_


                   State and Zip Code     _New York 10588


                   Telephone Number              914-245-2151



                   E-mail Address                          ilm 196@columbia.edu




      B.    The Defendant(s)

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person's job or title (if
            known). Attach additional pages if needed.

            Defendant No. 1

                   Name                          New York City Board ofEducation


                   Job or Title
                   (ifknown)
                   Street Address                 52 Chambers Street Room 320 B4



                   City and County                                New York City


                   State and Zip Code           New York 10007
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 Continued: Defendants List                               Murray v Board ofEducation




Robert Mercedes

Principal

MS 390

 1930 Andrews Avenue South

Bronx, New York 10453

718-583-5501




 Susan Carr Lagomarsini

 Guidance Counselor

 MS 390

 1930 Andrews Avenue South

Bronx, New York 10453




            JouXKi-l-a ^
                           SfAff iV MfA yQRK
                            GOUNIY OF KINGS
                            8E-0OF me nt




                              .(AMAL P. SONI
                       Nolarv Public, State of New York
                              No. 01SO6089949
                           Qualified In Kings County
                      Commission Expires March 31, 2Uiy
Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 4 of 25 PageID #: 33




                   State and Zip Code       ^New York 10007


                  Telephone Number
                  E-mail Address
                  (if known)

            Defendant No. 2

                  Name                               New York City Board ofEducation


                  Job or Title             Corporation Counsel
                                                                  (if known)
                   Street Address             100 Church Street 5^*^ Floor


                  City and County              New York City


                   State and Zip Code             New York 10007



                  Telephone Number
                  E-mail Address                     ireiter@,law.nvc.gov attorney for this
                  defendant


                                                        (if known)

      C.    Place of Employment

            The address at which I sought employment or was employed by the defendant(s)
            is:

                   Name                               Middle School 390



                   Street Address                           1930 Andrews Avenue
                   South

                   City and County                      Bronx County


                   State and Zip Code           New York
                   10453

                   Telephone Number           718-583-5501
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II.    Basis for Jurisdiction

       This action is brought for discrimination in employment pursuant to (check all that
       apply):

                      Title VII ofthe Civil Rights Act of 1964, as codified,42 U.S.C. §§ 2000e
                      to 2000e-17(race, color, gender, religion, national origin).

                      (Note: In order to bring suit infederal district court under Title VII, you
                      mustfirst obtain a Notice ofRight to Sue letterfrom the Equal
                      Employment Opportunity Commission.)

                      Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
                      §§ 621 to 634.

                      (Note: In order to bring suit infederal district court under the Age
                      Discrimination in Employment Act, you mustfirstfile a charge with the
                      Equal Employment Opportunity Commission.)

                 □    Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
                      to 12117.

                       (Note: In order to bring suit infederal district court under the Americans
                       with Disabilities Act, you mustfirst obtain a Notice ofRight to Sue letter
                      from the Equal Employment Opportunity Commission.)

                      Other federal law (specify the federal law):    ^USC 42 sect
                      1981



                 5/   Relevant state law (specify, ifknown):     NYS Human Rights, section
                      296 of the New York Executive
                      Law



                      Relevant city or county law (specify, if known):  NYC Human
                      Rights, New York City Administration Code Ch 1, 38-107 (Unlawful
                      Discrimination Practices)




III.   Statement of Claim
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      Write a short and plain statement ofthe claim. Do not make legal arguments. State as
      briefly as possible the facts showing that each plaintiff is entitled to the damages or other
      relief sought. State how each defendant was involved and what each defendant did that
      caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
      ofthat involvement or conduct. If more than one claim is asserted, number each claim
      and write a short and plain statement of each claim in a separate paragraph. Attach
      additional pages if needed.

      A.     The discriminatory conduct of which I complain in this action includes (check all
             that apply):

                     □       Failure to hire me.

                     □       Termination of my employment.
                     □       Failure to promote me.
                     □       Failure to accommodate my disability.
                     0^      Unequal terms and conditions of my employment.
                             Retaliation.

                     □       Other acts (specify):

                     (Note: Only those grounds raised in the charge filed with the Equal
                     Employment Opportunity Commission can be considered by the federal
                     district court under the federal employment discrimination statutes.)

      B.     It is my best recollection that the alleged discriminatory acts occurred on date(s)
                         December 21, 2012; January 3,2013; January 4, 2013; January 28,
             2013; June 28, 2013; October 4,2013; October 9, 2013; September 23,2014;
             June 30,2015; September 16,2015; November 4,2015 and many other dates
             between 2012 and 2015




      C.     Ibelieve that defendant(s) (check one):

                      \/     is/are still committing these acts against me.
                     □       is/are not still committing these acts against me.
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      D.    Defendant(s) discriminated against me based on my (check all that apply and
            explain):

                          race    Black

                          color      Black

                   □      gender/sex
                   □      religion
                   □      national origin
                   e/     age. My year of birth is _                  (Give your year ofbirth
                          only ifyou are asserting a claim ofage discrimination.)
                   □      disability or perceived disability (specify disability)



      E.    The facts of my case are as follows. Attach additional pages if needed.
                         See attached

                  >o




            (Note: As additional supportfor the facts ofyour claim, you may attach to this
            complaint a copy ofyour charge filed with the Equal Employment Opportunity
            Commission, or the chargefiled with the relevant state or city human rights
            division.)
IV.   Exhaustion of Federal Administrative Remedies

      A.    It is my best recollection thatI filed a charge with the Equal Employment
            Opportunity Commission or my Equal Employment Opportunity counselor
Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 8 of 25 PageID #: 37




               regarding the defendant's alleged discriminatory conduct on (date)

                  ^March 26,2013, September 25,2014 and October 22,2015




      B.       The Equal Employment Opportunity Commission (check one):

                      □      has not issued a Notice of Right to Sue letter.
                              issued a Notice of Right to Sue letter, whichIreceived on (date)
                              _January 13,2015, June 10,2016 and August 11, 2016


                             (Note: Attach a copy of the Notice ofRight to Sue letter from the
                             Equal Employment Opportunity Commission to this complaint.)

      C.       Only litigants alleging age discrimination must answer this question.

               Since filing my charge of age discrimination with the Equal Employment
               Opportunity Commission regarding the defendant's alleged discriminatory
               conduct (check one):

                      ^       60 days or more have elapsed.
                      □       less than 60 days have elapsed.

V.    Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to
      order. Do not make legal arguments. Include any basis for claiming that the wrongs
      alleged are continuing at the present time. Include the amounts of any actual damages
      claimed for the acts alleged and the basis for these amounts. Include any punitive or
      exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
      actual or punitive money damages.

         From New York City Board of Education money damages in the amount of Two
      Million Dollars for creating a hostile work environment, harassment, unsafe work
      environment, racial discrimination, inappropriate work environments and the physical
      injuries sustained to my back and left arm while assigned to the security detail in the
      hallway, stairwell and gymnasium.
      From Robert Mercedes money damages in the amount of One Million Dollars for
      creating a hostile work environment, harassment, unsafe work environment, racial
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      discrimination, inappropriate work environments and the physical injuries sustained to
      my back and left arm while assigned to the security detail in the hallway, stairwell and
      gymnasium,in addition to defamation of character.
      From Susan Carr Lagomarsini money damages in the amount of Twenty Five Thousand
      Dollars for providing false information on a report that led to an investigation, added to
      false charges lodged against me,resulting in a fine. Susan Carr Lagomarsini simply lied.
      As a State licensed professional, she should be held to a standard that includes telling the
      truth. The charges, investigation and the fine harmed me professionally and devastated
      my household income. Additionally, the investigation was
      traumatizing.




VL    Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge,information, and belief that this complaint:(1)is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation;(2)is supported by existing law or by a nonffivolous argument for
      extending, modifying, or reversing existing law;(3)the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4)the
      complaint otherwise complies with the requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
              related papers may be served. I understand that my failure to keep a current
              address on file with the Clerk's Office may result in the dismissal of my case.

              Date ofsigning:      ^December 15         ^20 16 .

              Signature of Plaintiff
                                        cP         ^v      V!
              Printed Name ofPlaintiff \                Ju^ita L. Murray
Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 10 of 25 PageID #: 39




  JURAT WITH AFFIANT STATEMENT



  state of K\RLl^ ^0 f K
  County of U                    Q^n(p C                     }    ss.




  l^ee Attached Document (Notary to cross out lines 1-7 below)
  □ See Statement Below (Lines 1-7 to be completed only by document signer[s], not Notary)




           Signature of Document Signer No. 1                           Signature of Document Signer No. 2 (if any)
                                                               Subscribed and sworn to (or affirmed) before me

                                                               this          day of                                . by
             Notary                                                   Date                 Month            Year

                        n v^iesicnes'"'                               3oQjo'^-Vo^ KAo rCcc
                                                                                    Name of Signer No. 1


                                                                                Nameo            No. 2 (if any)


                                                                                             Notary Pmlic


                                                                              Any Other Required Information
           Place Notary Ses^/Stamp Above                                     (Residence, Expiration Date, etc.)
                                                       OPTIONAL

      This sect/on is required for notarizations performed in Arizona but is optional in other states. Completing this
  information can deter alteration of the document or fraudulent reattachment of this form to an unintended document.
  Description of Attached Document
                           locumeni



  Title or Type of Document

  Document Date:          nP                                                 Number of Pages:            ^
  Signer(s) Other Than Named Above:                                                                     ^

  ©2014 National Notary Association • www.Nati0nalN0tary.0r9 • 1-800-US NOTARY (1-800-876-6827) Item #25924
            Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 11 of 25 PageID #: 40
HEOC Form 161 (11/09)        U.S. Equal Employment Opportunity Commission

                                                Dismissal and Notice of Rights
To:     Juanlta L. Murray                                                            From:    New York District Office
        1114 Stonegate Road                                                                   33 Whitehall Street
        Shrub Oak, NY 10588                                                                   5th Floor
                                                                                               New York, NY 10004



      □                    On behalf of person(s) aggrieved whose identity is
                           CONFIDENTIAL (29 CFR ^1601.7(a))
                                                                                                                         Telephone No.
EEOC Charge No.                                EEOC Representative
                                               Roxanne Zygmund,
                                                                                                                         (212) 336-3764
520-2014-01915                                 Investigator
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       I I The fads alleged in the charge fail to stale a claim under any of the statutes enforced by the EEOC.
       r~~| Your allegations did not involve a disability as defined by the Americans With Disabilities Act,
       I 1 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes,
       I 1 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge

       m The EEOC issues the following determinatiom B-d "pon ^                                                 i^in^rpfance with
           rhfs^rsTordint^rd^e^r^^^^^^
       I 1 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge,
       □ Other (briefly state)
                                                          - NOTICE OF SUIT RIGHTS -
                                                    ^See the additional information attached to this form.)
 Title VII, the Americans with Disabilities                                                               of your right to sue that we wiil send you.
 oLrimination in Employment Act; This « '                            °                                          in Lerai or state court. Your
 YOU may '"d                                DAYl"of®Jour receipt of this notice; or your right to sue based on this charge will
 ir^Tt^etirlli'trS?^                                            -derstate law may be different.)
 Equal  Pay Act (EPA): EPA suits must f
 alleged EPA underpayment. This means that backpay due tor any vio
                                                                                                     throccurred moTelhanfv'ea"ri (3 years)
  before you file suit may not be collectible.
                                                                       On behalf of the Commission


      Enclosures(s)
                                                   ki                  Kevin U. Berry,
                                                                                                                         H        (Dm
                                                                                                                                  (Date Mailed)

                                                                       District Director

      cc:
               Henry Chou
               Staff Attorney
               NYC DEPARTMENT OF EDUCATION
               52 Chambers Street
               Room 308
               New York, NY 10007
         Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 12 of 25 PageID #: 41
EEOC Form 161 (11/09)                     U.S. Equal employment Opportunity Commission

                                                 Dismissal and Notice of Rights
To: Juanita L. Murray                                                                 From:     New York District Office
    1114 Stonegate Road                                                                        33 Whitehali Street
        Shrub Oak, NY 10588                                                                    5th Floor
                                                                                                New York, NY 10004



    □                       On behalf of person(s) aggrieved whose Identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                EEOC Representative                                                    Telephone No.

                                               Rudolph White,
520-2016-00225                                 Investigator                                                           (212) 336-3753

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
    □            The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

    □            Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

    □ The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
    □ Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge

     m           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
     □ The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.
     □            Other (biiefly state)


                                                         - NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)
Title VII the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
StetZiiation iStoyment Act: This will be the only notice of dismissai and of your right to sue that we w,il send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will
lost. (The time limit for filing suit based on a claim under state law may be different.)
Eoual Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
K      EPA und^^^^^^^ This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.
                                                                      On
                                                                      On behalf
                                                                         behalf of
                                                                                of the
                                                                                   the Commission
                                                                                       Commission                 —. /



                                                                                                                             (Date Ivlailed)
  Enclosures(s)


  cc:
             Robin Singer
             Associate Counsel
             NYC DEPARTMENT OF EDUCATION
             Office of Legal Services
             52 Chambers Street, Room 308
              New York, NY 10007
          Case 1:15-cv-03191-RRM-ST Document 16 Filed 12/16/16 Page 13 of 25 PageID #: 42
 EEoc Form 161 (11/09)                   U.S. EQUAL EMPLOYMENT Opportunity Commission

                                                 Dismissal and Notice of Rights
To. Juanita L. Murray                                               From: New York District Office
          1114 Stonegate Road                                                                  33 Whitehall Street
          Shrub Oak, NY 10588                                                                  5th Floor
                                                                                               New York, NY 10004


      □                     On behalf of person(s) aggrieved whose Identity Is
                            CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                               EEOC RepresentaSve                                                    Telephone No.
                                               Rudolph White,
 520-2016-00225                                Investigator                                                          (212)336-3753
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      □ The facts alleged in the charge fall to state a claim under any of the statutes enforced by the EEOC.
      □ Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
      □ The Respondent employs less than the required number of employees or is not othen/vise covered by the statutes.
      I     i    Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
      m The EEOC issues the following detemlnation: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
      □ The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.
      □ Other (briefly state)

                                                        - NOTICE OF SUIT RIGHTS -
                                                  (See the additional Information attached to this form.)
Title Vil, the Americans with Disabilities Act, the Genetic Information Nondlscrlmlnatlon Act, or the Age
Discrimination In Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears f3 vears)
before you file suit may not be collectible.

                                                                    On behalf of the Commission


Enclosures(s)
                                                                                                                     S/nl\(^
                                                                    Kevin J. Berry,                                       (Date Mailed)
                                                                   District Director
cc:
            Robin Singer, Esq.
            Associate Counsel, Office of Legal Services
            NYC DEPARTMENT OF EDUCATION
            52 Chambers Street, Room 308
            New York, NY 10007
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  15cv3191




  Murray v New York City Board of Education                             December 16,2016

  Attachment: Facts underlying my claim



  1.Robert Mercedes, who is Hispanic, favored Hispanic pedagogues over Black and White

  pedagogues. Three Hispanic pedagogues were excessed. "Excessing is the process of

  reducing staff in a particular school, when the number of available positions in a title or

  license area in that school is lower than the number of people in the school who require

  an assignment in that title or license area. It usually occurs in June for the next school

  year. Excessed staff may then seek other positions"(From the UFT website). Robert

  Mercedes told them not to leave. Guillermina Ceballos(School Social Worker) who is

   Hispanic, told me that the Principal told her not to leave. Mr. Andres Gil(teacher who

   is Hispanic) told me that he lost 2 months of pay because he didn't leave when he was

  excessed. This occurred to my best recollection, between June 2011 and November

  2013. Robert Mercedes harassed 3 Caucasian teachers and 4 African-American teachers

  and counselors to leave the school. George Swander and Daryl McKnight upon

  information and belief were forced to retire sooner than they planned.

  Susan Carr Lagomarsini and Linda White were told that they were excessed. These

  African-American women went on interviews in other schools. They were directed

  by the Board of Education to retum to MS390x. They were never excessed. The

  principal, Robert Mercedes, did not tell the truth. Daryl McKnight and Linda White

  received several disciplinary letters, in a harassing manner just like I did, with constant

  interruptions and public display of disciplinary action. Steven Bernstein reported having
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   charges filed against him on many occasions, that were unfounded, Claire Scesney was

  removed from her teaching position following a Special Education complaint that I filed.

  She was forced to teach a Special Education for which she did not hold a license. Linda

  White, Claire Scesney and I were charged with incompetence (3020a proceedings).



  2.Robert Mercedes retaliated against me for submitting Special Education complaints. I

  filed Special Education complaints on/about December 5 and December 12,2012. This

  is a protected activity. Retaliation included removing me from my position as a Related

  Services Provider (direct service provider of Special Education services) which I am

  trained and licensed for, to several positions that I am not licensed, nor trained to do.

  These assignments included Guidance, School Safety, Paraprofessional(teaching

  Assistant), Dean, School Aid and Attendance Teacher. Guidance and School Social

  Work are different in that Guidance Counselors can see larger groups of students and

  are trained and licensed to provide Career Planning and Academic Advising. School

  Social Workers are limited to groups of8 students, and cannot do Academic Advising or

  anything regarding grades or course selection. Additionally School Social Workers

  cannot provide services without parental consent. Guidance can provide limited services

   without parental consent.

  3. Robert Mercedes created a hostile work environment. He directed all types of staff

   members (both permanent and temporary staff, union and non UFT union members)to

   deliver disciplinary letters to me. This is significant because DC37 union members who
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        delivered letters continuously violated the Collective Bargaining Agreement in regards to

        the delivery of these letters. A former student delivered a disciplinary letter to me,then

        wrote that I refused to sign it. Her name is Mari Luz Alfonseca. Letters were delivered

        to me during counseling sessions and once while I was meeting with a parent. The

        delivery of these disciplinary letters interfered with my duties as a Related Services

        Provider. Robert Mercedes incorporated several types of trickery including backdating

        letters, a signature forgery, directing a School Aid to record that I refused to sign for

        receipt of a letter, when I simply asked if I could get my eyeglasses.



        4. I have received 39 disciplinary letters between December 20, 2012 and June 28,

        2013. The purpose ofthese disciplinary letters were to create a paper trail to terminate

        me. On 6 days I received 2 letters and one day I received 3 letters. This act was directly

        related to Robert Mercedes' speech at Staff Meetings on or about December 20,2012 and

        January 3, 2013 when he said that"ATR's are too expensive" and"Only 1st and 2nd

        year teachers are cost effective". He stated on January 3, 2013 that he would contact

        "Legal" to get assistance getting rid of senior staff members. He planned to have me

        terminated. ATR is the Absent Teacher Reserve. It is a pool of unassigned staff

        members who mostly rotate assignments in a School District. These are largely

        middle aged staff members, who rarely get hired into permanent positions. I am

        currently an ATR,rotating through the School District. I have never been given an

        assignment in my license area. I haven't had an assignment in my license area since

        December 2012. I continue to get assignments that I do not have the license nor training

        for. I believe these out license assignments make me vulnerable to further charges. I

        have filed a grievance on January 4, 2013. This grievance has been stalled at Step 3




                                                   3
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        since April 2016.

        Robert Mercedes stated that he would reduce counseling staff. His changes only

        impacted Special Education students, for whom I was the sole counseling provider.

        Robert Mercedes threatened that if we couldn't be terminated, we would suffer

        a salary reduction, by way ofa fine.

        5. Robert Mercedes assigned me to the student cafeteria. I was the only School Social

        Worker assigned to work in the student cafeteria. Circular Six, prohibits cafeteria duty

        for School Social Workers. On January 28, 2013 Robert Mercedes directed me to walk

        around the cafeteria 20 times. When I completed 20 rounds, I asked if I could use the

        restroom. He refused to allow me to go, stating that I hadn't finished 20 rounds. He

        humiliated me in front of students. One student asked me what I was doing, Robert

        Mercedes provided testimony that students questioned him too, asking him, why he made

        Ms. Murray walk around the cafeteria. One of my students commented that she was

        about to cry because"he was standing there laughing". Another student who confronted

        the principal, had his parents called in the next day. He, very mysteriously, disappeared

        from the school.

        6. Robert Mercedes and Susan Carr-Lagomarsini(Guidance Counselor) filed false

        charges against me. Two students were having a spat on social media outside of school

        hours. One alleged that the other threatened to harm themselves if the relationship was

        dissolved. I never saw any such post and at the time I didn't know how to access the

        post, nor did I know if I was allowed to view such a post because phones and social

        media were not allowed in this school. I provided services and made appropriate

        referrals for both students. I followed up with both agencies that I referred to and

        received feedback from the clinicians I referred to. Robert Mercedes, based on
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  Susan Carr Lagomarsini allegation filed a claim that I mishandled the intervention.

  Susan Carr-Lagomarsini alleged that" I took no action". The investigator's report

  reveals that I did take action. Susan Carr-Lagomarsini received from me,the resources I

  collected to give to the students and their parents, when I saw that she was meeting with them.

   Testimony at my Disciplinary Hearing revealed that the principal directed the other counselors

  in the building to not speak to me.



  Additional facts to consider about this false charge is that the Chancellor's Regulation

  did not require intervention for incidents that happened outside of school. It has since

  been amended to include some incidents that happen outside of school. The Regulation

  also mandates that I receive training every year by October 31st of each school year.

  I have never received this training. I did pay for the State training for this area (Dignity

  For All), but the local mandate which would cover this(Respect For All) was blocked by

  Robert Mercedes in an email to the facilitator on November 13,2013. With all of these

  roadblocks, I still provided these students with assistance. In fact without even being

  aware of the regulation, I provided better and more services than the providers who

  intervened after the charges were filed. The testimony at my Disciplinary Hearing will

  reveal that none of the witnesses that the Board of Education procured could say what I

  mishandled, and the staff members who picked up this case, failed to adhere to the

  regulation making many clinical errors.

  7. Robert Mercedes initiated 3020a charges for incompetence and insubordination, with

  the sole purpose of having me terminated. Neither ofthese charges were founded. New

  York State Supreme Court determined, by unanimous decision that Robert Mercedes

  failed to follow the Board of Education's process for evaluation. Robert Mercedes
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  admitted that that he did not have the education, nor experience to evaluate a School

         Social Worker: In re: Juanita Murray v Board of Education, New York Supreme Court

         (Sept. 22, 2015)reversing, on the Law,decision by NY Supreme Court, County, denying

         Ms. Murray's appeal of unsatisfactory ratings.

         8. Robert Mercedes assigned me to a work area that was dangerous. I was assigned to

         work in the basement to organize books on or about October 9, 2013. This area was

         dangerous and not intended for continuous work, but a storage area. It was kept so badly

         that it was dangerous. There was boxes and bags of paper which created a fire hazard,

         bugs, dust, uncovered pipes, blocked entrance/exit, no telephone, no heat, the lighting

         poor, there was a copy machine, no windows, holiday decorations were stored there,

         lighter fluid, etc. I was afraid every time that I was in that room. I made a report to the

         Department of Labor. The response from the Department of Labor is a report with many

         errors, including the address of the school, interviewees names, etc. The principal

         failed to follow the recommendations of the first inspector, who told him that paper in

         the storage area was a hazard. Robert Mercedes did not cease the delivery of paper to

         the storage area. I thought I was going to die in that room and I told the first inspector.

         The Department of Labor's report also states that no one was assigned to that room,

         continuously. I was able to furnish proof that I was assigned to that storage area daily

         for at least 5 hours a day.

         9. Robert Mercedes stated that I was delusional and forced me to submit to an

         evaluation on October 4, 2013. Prior to this request for evaluation, Robert Mercedes

         directed me to shred mounds of paper. This was a punitive act because included in the

         piles of paper were documents that were not confidential, like the bell schedule. He also

         directed me to label one folder for each student in the building, which at that time was




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        300-400 students. While shredding, the shredder kept getting jammed. I tried to remedy

        problem by emptying the shredder. I got paper all over my desk and the floor. The

        shredder was not properly maintained. There were bits of paper in all the crevices of the

        machine. Not only did Robert Mercedes blame me for the poor maintenance of the

        shredder, but he summons the School Safety Officer to remove me from the building. I

        was with the School Safety Agent as she called her superior and was advised to not

        remove me from the building. This assignment came about because I had just been

        served (3020a)and removed from my position. I was to be assigned administrative

        duties. The Collective Bargaining Agreement prohibits all activities that would be done

        by a School Aid or Custodian, etc. This was a punitive assignment. Robert Mercedes
        taunted me in the main office and said repeatedly,"Do you refuse to do it?" I always

        answered that I did not refuse. Any act of insubordination would surely get me

        terminated, which was his goal. I knew that.



        10. Robert Mercedes failed to provide a safe environment free of racial harassment when

        a teacher. Tiffany Mack,attacked me. In my duties, as an Attendance Teacher/School
        Aid, collecting attendance folders. Tiffany Mack came out of her class and said to me
        "here nigger, nigger, nigger" Tiffany Mack said this is the new lynching. Even though
        I told her what she said was inappropriate, as she left to go back into her room, she said it

        it again,"here nigger, nigger, nigger". I didn't sleep a full night for more than a month.
        Robert Mercedes failed to follow the Chancellor's Regulations regarding this racial

        harassment. He lied about when he became aware, he responded by charging me with

        defamation of character. He failed to do an investigation. While there weren't any

        witness that we know of, the entire verbal exchange was right in front of a camera, which




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  is significant, because Robert Mercedes told me that Tiffany Mack denied that a conversation

  even took place. The video will also show that she followed me to another portion of the

  building, when I settled into my next assignment. Robert Mercedes did not address the

  fact that Tiffany Mack left her class unattended for several minutes. There were

  witnesses that would place her with me. Robert Mercedes just failed to meet his

  obligation as an administrator. When I finally met with Robert Mercedes, he and the Chapter

  Leader admitted that they didn't understand why those words would bother me. Ignorance is not

  bliss, and not knowing that calling a person a nigger is racial harassment is not acceptable.

  There have been several incidents in this school where students have called staff members

  niggers, so he knew. This attack is a result of his attempt at humiliating me and leaving me

  vulnerable to verbal and physical attacks.



  11. Robert Mercedes failed to compensate me for wages. He falsely identified 17 days as

  unauthorized absences. Some of these days were an approved medical leave, many were

  medically certified days off and some were days that I attended my Disciplinary Hearing.

  The wages were removed from my paycheck, outside of the payroll schedule. So days that

  I took off in March and April, came out of my first two summer paychecks. At this time

  the payroll is closed and there no option for remedy. This act was intentional. All but 1 day was

  restored. It took me 10 months to get all of my money back.



  12. Robert Mercedes assigned me to additional unsafe environments with meaningless tasks. My

  assignment for several months was to watch a door in the rear of the gymnasium. I call this a

  meaningless task because I am not a School Safety Agent and I was directed by the Board of

  Education because of my charges(3020a)and reminded by Robert Mercedes to not have direct
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  contact or to supervise students. While in the gymnasium, I was hit with a ball. The first time,

  April 2015, my arm was injured. I only experienced mild discomfort. Within a month I

  couldn't use my arm at all. I had several medical visits and months of Physical Therapy.

   The second event in the gymnasium. Sept 16,2015, I was hit in the upper body. I experienced

   chest spasms and I thought I was having a heart attack. I was removed from the gymnasium.

   Robert Mercedes assigned me to watch an exterior door that was fitted with alarms and a video

   monitor. I am still not sure of my purpose at this post. I was to watch a door on the 1st floor,

  from a first floor post, a second floor post and a basement post. I was unable to see this door

   from the second floor and the basement. Robert Mercedes goals were to harm me.

   As a result a student assaulted me. I was directed not to speak to the students. I

  believe that the student who assaulted me was so frustrated that I wouldn't talk to her. She

  punched me in my back. This assault required many doctors visits and months of Physical

  Therapy. I still have pain, and need to continue with Physical Therapy.

  Robert Mercedes failed to process my applications for Line of Duty Injuries in a timely fashion.

  The first incident's application took 14 months to process. I am currently waiting for the student

  assault incident to get processed. Robert Mercedes just refused to do it. I handed in all the

  forms in a timely manner and he refused to submit them. I have several emails to document my

  attempts to get Robert Mercedes and the Board of Education to process my applications for Line

  of Duty Injuries.



  13. There were two other assignments of sitting in a space for hours with instructions not to

  speak to students. I was directed as a consequence of my 3020a charges to not have direct

  contact nor supervise children. Robert Mercedes would assign me to locations right in the

  middle of tons of students. He created an environment for me to violate the directive and have
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   me terminated, or incur more charges and a greater fine. He also put me on display, to terrorize

   the staff and to ridicule me.




   14. Robert Mercedes assigned me to additional cleaning details. Besides cleaning the basement

   storage room, I had a library cleaning assignment and I was assigned to empty a room on

   October 25, 2013. Linda White and I was assigned to mostly cleaning activities while awaiting

   the outcome of our hearings. Claire Scesney didn't get a cleaning assignment.

   Finally, I assert that Robert Mercedes decided that at all costs he would decide who could stay

   and who had to go, based on race and ethnicity. Robert Mercedes was assured that he was

   supported by the Board of Education. He was, because I filed a grievance and a harassment

   complaint. All parties were privy to the viciousness I endured. No one stopped him. In fact,

   he failed to honor an agreement he made at the culmination of the Harassment complaint

   meeting in April 2013. He just ignored the entire complaint process and continued to harass me.

   I hope that I will have the opportunity to stop this level of abuse and be assured that the Federal,

   State and Local governments laws will protect me and compensate me for all of the abuse I've



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